  CASE 0:14-cv-03105-DSD-KMM Document 7 Filed 11/26/14 Page 1 of 18



                            TINITED STATES DISTRICT COURT
                                DISTRICT OF MINNESOTA


TNITED STATES OF AMERICA and                         Court File No. l4-sc-3 105 (DSD/LIB)
STATE OF MINNESOTA.
                                                   AMENDf,D FALSE CLAIMS ACT
ex rel.                                            COMPLAINT AI\D DEMAND ['OR
                                                  AJURYTRIAL

                                                   FILED T]NDER SEAL AIID.TN
                                                   CAMERA PURSUANT TO 31 U.S.C.
                                                   s 3730OX2)

                                                   DO NOT PLACE MI PRESS BOX
                                                   DO NOT f,NTERON PACER OR
                                                   Clt{7ECF

                   Defendanls.


    Plaintiff and Relator Ryan Mesaros, through his attomeys, JOHN A. KLASSEN,

P.A., 700 Lumber Exchange, 10 South Fifth Street, Minneapolis, Minnesota 55402, and

MULLER         &   MULLER, P.L.L.C., 3109 West 50s Street, Suite 362, Minneapolis,

Minnesota 55410, states and alleges as follows:

                                   NATURE OF CLAIM

          1.       Ryan Mesaros, Pharm.D. ("Relator") brings this action on behalf of the

United States of America and the State of Minnesota against Defendants, Wal-Mart

Stores, Inc. and Sam's West, Inc. ('Defendants") for damages and    civil penalties arising

from Defendants' violations of the United States False Claims   Act,3l U.S.C.   $$ 3729 to

3733, and the Minnesota False Claims Act, Minn. Stat. $$ 15C.01 et seq. (hereinafter

refened to jointly as the "False Claims Acts").


                                                                                              L

                                                                                Irl0V 2 6   zqh
  CASE 0:14-cv-03105-DSD-KMM Document 7 Filed 11/26/14 Page 2 of 18



        2.       While transacting business in Minnesot4 Defendants have (as described in

further detail below) engaged and continued to engage in the following unlatfirl conduct

in violation of the False Claims Acts:

        a.      Defendants have submifted or caused to be submitted claims to Medicaid

      oonon-covered" pharmaceutical goods
for                                             and services for which they are expressly

prohibited from seeking reimbursement under State of Minnesota regulations goveming

Medicaid and Medical Assistance:

        b.      Defendants continue      to   submit   or   cause   to be submitted   claims to

Medicaid for "non-covered" pharmaceutical goods and services for which they are

expressly prohibited from seeking reimbursement under State of Minnesota regulations

goveming Medicaid and Medical Assistance;

        c.      Defendants have submitted or caused to be submitted claims to Medicaid

for "non-covered" services, involving dispensing of pharmaceuticals to patients that

resulted in the provision of excessive prescriptions and wa$e of government monies and

resources, and for which they were expressly prohibited from seeking reimbursement

under State olMinnesota regulations goveming Medicaid and Medical Assistance; and

        d.      Defendants continue      to   submit or cause       to be submitted   claims to

Medicaid for "non-covered" services, involving dispensing of pharmaceuticals to patients

that result in the provision of excessive prescriptions and waste of government monies

and resources, and   for which they are expressly prohibited from seeking reimbursement

under State of Minnesota regulations goveming Medicaid and Medical Assistance.

        3.      Defendants have knowingly, or with deliberate ignorance and reckless

disregard    of the truth or falsity of   information, undertaken acti]ons     to   implement,
  CASE 0:14-cv-03105-DSD-KMM Document 7 Filed 11/26/14 Page 3 of 18



condone, and continue the submission        of tlese false claims to the United States
Govemment and the State of Minnesota. As required by the federal False Claims Act,           3l

U.S.C. $ 3730(bX2), and the Minnesota False Claims     Act Minn. Stat. $$ 15C.01 et seq.,

Relator has provided to the Attomey General of the United Stateg, the United States

Attomey for the District    of   Minnesota C'AUSA-MN), and the State           of   Minnesota

Attomey General statements of all material evidence and inform4tion related to this

Amended Complaint. These disclosure statements were supported by material evidence

known   to   Relator at the time. Because these statements inclqded attorney-client

communications and work product       of Relator's attomeys, and wqe submitted to           the

United States Attomey General, the AUSA-MN, and the State of Minnesota Attomey

General in their capacities as potential co-counsel in this litigation, Relator understood

and intended these disclosures to be confidential.

        4.      Prior to fi1ing this Amended Complaint, on or about July 30, 2014,          ar,rd


again on or about November 5, 2014, pursuant to the False Claims Acts, Relator

vohurtarily provided the AUSA-MN and the State          of   Minnesota Attomey General

documentary and testimonial evidence supporting the claims asserted herein against

Defendants. This evidence included work product of Relator's attomeys, and             it   was

submitted    to the United States Attomey General, the AUSA-MN and the State of

Minnesota Attorney General in their capacities as potential co-couns,el in this litigation.

The Relator understood and intended these disclosures of evidence to be confidential'

                            JURISDICTION AI\I} VENUE

        5.      This action arises under the federal False Claims Acti 31 U.S.C. $$ 3729

et seq., and the Minnesota False Claims Act, Minn. Stat. $$ 15C.01   eX   seq. This Court has
  CASE 0:14-cv-03105-DSD-KMM Document 7 Filed 11/26/14 Page 4 of 18



jurisdiction over this case pursuant to 31 U.S.C. $$ 3732(a) and 3730(b) and because

Defendants reside, own property, employ individuals, and transact business             in   this

District. This Court also has jurisdiction pursuant to 28 U.S.C. $ 1345 and 28 U.S.C.         $


133 I   .   The Court has pendant juisdiction over the state law claims.

            6.        Venue is proper in this District pursuant to 31 U.S.C. $ 3732(a); the

unlavlftl acts complained of herein took place in this District. Venue ls also proper in this

District pursuant to 28 U.S.C. $ 13910) and (c), because at all times material and

relevant, Defendants resided, owned property, employed individuals, and transacted

business in this District.

                                            PARTIES

            7   .     Relator is an adult male who at all times relevant was a resident of

Minnesota and a citizen of the United States and of the State of Minnesota. At a1l times

material, Relator was a licensed pharmacist and an "employee" of Defendant Wal-Mart

Stores      Inc.    Relator was also jointly employed by Defendant Sam's West, Inc. as a

pharmacist          on at least one occasion. Relator brings this action based on      direct,

independent, and personal knowledge, except where alleged upon information and belief.

Relator is an original source of this information to the United States and State of

Minnesota Governments. He has direct and independent knowledge of the information on

which the allegations are based and has voluntarily provided this infotmation to the

United States and State          of   Minnesota Govemments before     filing the original and

amended actions under the False Ciaims Acts.

                      Defendant Wal-Mart Stores, Inc. ("Defendant Wal-Mart'),      a   foreign

corporation with its principal place of business in Bentonville, ArkanFas, was at all times
 CASE 0:14-cv-03105-DSD-KMM Document 7 Filed 11/26/14 Page 5 of 18



material Relator's employer. Defendant Wal-Mart employed him at its retail stores

throughout Minnesota" where it provides retail pharmacy services to Medicaid patients

and beneficiaries. Medicaid is a public assistance program providing for payment            of

medical expenses for low-income patients, including payment in whole or in part for

pharmaceutical goods and services. Funding for Medicaid is jointly shared by the state

and federal governments, including the State of Minnesota.

       9.     Defendant Sam's Wes! Inc. ('Defendant Sam's"), d/b/a Sam's Club, is a

foreign corporation with   ir   principal place of business in Bentonville, Arkansas, and it is

wholly owned and operated by Defendant Wal-Mart. Defendant Sam's employed Relator

as a pharmacist on at least one occasion befween 2012      nd   2014, including on October 5,

2013, at its St. Louis Park, Minnesota pharmacy. Defendant Sam's' retail pharmacy

operations are compietely linked        to and a mirror image of Defendant Wal-Mart's,

including staff, programs, policies, systems, practices and procedures. Defendant Sam's

operates its retail stores throughout Minnesot4 where it provides retail pharmacy sewices

to Medicaid patients and beneficiaries. Medicaid is a public assistance program providing

for payment of medical expenses for low-income patients, including payment in whole or

in part for pharmaceutical goods and services. Funding for Medicaid is jointly shared by

the state and federal govemments, including the State of Minnesota.

                                TIIE F'ALSE CLAIMS ACTS

       10.    The United States False Claims Act provides, in pertinlent part that:

       (a) Any person who (1) knowingly presents, or causes to be presented, to
           an officer or employee of the United States Govemment or a member
           of the Armed Forces of the United Stxes a false or frartdulent claim
           for payment or approval; (2) knowingly makesn uses, or causes to be
           made or used, a false record or statement to get a false or fraudulent
           claim paid or approved by the Govemment; ... or (7) knowingly
  CASE 0:14-cv-03105-DSD-KMM Document 7 Filed 11/26/14 Page 6 of 18



                  makes, uses, or causes to be made or used, a false record or statement
                  to conceal, avoid, or decrease an obligation to pay or hansmit money
                  or Foperty to the Government,

                                                   l.:1.   *

                  is liable to the United Stales Govemment for a civil penalty of not less
                  than $5,500 and not more than $11,000, plus 3 times the amount of
                  damages which the Government sustains because of the act of that
                  person..,.

For purposes of this section, the terms "knowing" and "knowingly" mean that a person,

witl   respect      to infomation (1) has actual knowledge of the information; (2) acts in

deliberate ignorance        of the truth or falsity of the information; or (3) acts in     reckless

disregard of the truth or falsity of the information, and no proof           of specific intent to

defraud is required. 31 U.S.C. $ 3729.

         I   l.      Similarly, the Minnesota False Claims Act, provides, in pertinent part that:

        (a) A person who commits any act described in clauses (1) to (7) is liable
        to the state or the political subdivision for a civil penalty of not less than
        $5,500 and not more thair $11,000 per false or fraudulent clailn, plus tlree
        times the amount of damages that the state or the political subdivision
        sustains because of the act of that person, except as otherwise provided in
        paragraph (b): (l) knowingly presents, or causes to be presented, a false
        or fraudulent claim for payment or approval; (2) knowingly makes or
        uses, ol causes to be made or used, a false record or statement material to
        a false or fraudulent claiq (3) knowingly conspires to commit a violation
        of clause (1), (2), (4), (5), (6), or (7); (7) knowingly makes or uses, or
        causes to be made or used, a false record or statement material to an
        obligation to pay or transmit money or property to the state or a political
        subdivision, or knowhgly conceals or knowingly and improperly avoids
        or decreases an obligation to pay or transmit money or property to the
        state or a political subdivision.


For purposes of this section of the Minnesota False Claims Act, the tdrms "knowing" and

"knowingly" mean that         a person,   with respect to infomtation (1) has {ctual knowledge of

the infonnation; (2) acts in delibemte ignorance of the        futh or falsity] of the information;

or (3) acts in reckless disregard of the truth or falsity of the inforrtration. No proof of
  CASE 0:14-cv-03105-DSD-KMM Document 7 Filed 11/26/14 Page 7 of 18



sp€cific intent   to defraud is required, but in no        case   is a   person who acts merely

negligently, inadvertently, or mistakenly with respect to information deemed to have

acted knowingly.    Minn. Stat. $$ 15C.01 et seq.

                                            FACTS

        12.      Because they are Medicaid providers, Defendants must comply with all

state and federal Medicaid requirements, including those relating to qledical necessity         for

featment, standards of medical care, and the provision of prescription medications and

reimbursement of fhe same.

        13.      As Medicaid providers in Minnesota" Defendants mqst comply with the

rules set forth in the Minnesota Health Care Programs' 'MHAP-Brcyfuter. N aIuaL-

Pharmacy Services", which rules expressly prohibit Defendants from automatically

refilling prescriptions for Medicaid patients and beneficiaries or seeking reimbursement

for automatically refilled prescriptions for Medicaid patients and beneficiaries.

        14.      The regulation, which became effective May 24, 2013,                       defines

automatically refilled prescriptions as "non-covered" services and reads: "MHCP does

not allow automatic    refills, Prescription refills are not elisible for payment without ar

explicit request from a recipient or authorized caregiver. The pharmacy provider may not

contact the recipient in an effort to initiate a   refill unless it is part ofd eood faith effort to

assess the   recipient's medication reqimen."

        15.       Relator was employed by Defendants from appro>{imately June 2012

through May       2014. During this period, he worked at approximately 24 different
pharmacy locations of Defendant Wal-Mart in Minnesota including, without limitation,

Coon Rapids, Eagan, Redwood Falls, Oak Park Heights' Eden Prairie, Rochester,
  CASE 0:14-cv-03105-DSD-KMM Document 7 Filed 11/26/14 Page 8 of 18



Buffalo, Blue Earth, Hastings, Owatonn4 Waseca, Mankato, Faribault, Fridley, Vadnais

Heights, Bloomington, Albert Le4 New Ulm, Rochester, Saint Louis Park, lnver Grove

Heights, Apple Valley, Lakeville and Bumsville. During this period, Relator was

assigned to work on at least one occasion at a pharmacy run by Defendant Sam's, in the

State   of Minnesot4 including on or about October 5, 2013 at its St. Louis Park,
Minnesota pharmacy.

         16.   Relator observed and has presented to the United Statres Government and

the State of Minnesota credible evidence that Defendants have engaged in the submission

of fraudulent and false claims for reimbursement to Medicaid for "non-covered" services

at each of Defendants' approximately 25 pharmacies where he   worke$. These fraudulent

and false claims practices of Defendants date back to and beyondMay 24,2013, and they

continue through the present   date. Upon information and belief, Defendants        have

engaged in the same submission    of fraudulent and false claims for reimbursement to

Medicaid at every pharmacy they own and operate in the State of Minnesotq which totals

approximately 69 Wal-Mart pharmacies and 13 Sam's Club pharmacies.

 Automatic Refill of Medicaid Patient Prescriptions and Submission of Clains for
                      Paymenl of "Non-Covered" Services

         17.   Subsequent   to May 24, 2AB, in direct conflict with the State of
Minnesota's prohibition against automatically refilling prescriptions      of   Medicaid

patients, Defendants knowingly automatically refilled prescriptions of Medicaid patients

and submitted claims for reimbursement for these "non-covered" services, knowing that

Minnesota's rules    for palment precluded the submissions of claims for such "non-

covered" services.
  CASE 0:14-cv-03105-DSD-KMM Document 7 Filed 11/26/14 Page 9 of 18



       18.    Defendants use the same computer-based pharmacy staff, programs,

policies, systems, practices and procedures. Their staff and systems are interchangeable

and identical. This includes automatically refilling Medicaid presoriptions and billing

Medicaid for these oonon-covered" prescriptions.

       19.     In Minnesota" Defendants continue to automatically relill prescriptions of

Medicaid patients and to seek and receive payment of these "non-covered" services

tlrough the present date, despite the State's clear prohibition agaust such           practices.


Relator has personal knowledge            of specific examples of   Defendants automatically

refilling the prescriptions of Medicaid patients and billing Medicaid for these "non-

covered" prescriptions between May 24,2013 and the present date. These instances

include, by way of example only and without limitation, the following:

       a.         On or about October 14, 2013, Prescription No.                 6868797 was

automatically refrlled at Defendant Wal-Mart's Apple Valley, Minnesota pharmacy. This

was for a Mimesota Medicaid patient and Defendant wd-Ma{t billed Mimesota

Medicaid for this prescription even though         it knew it was billing for a "non-covered"

service. The cost of this prescription was $800 per     refill, and it was automatically refilled

at least tw.ice by Defendant Wal-Mart. Similarly, on or about October 14, 2013 at that

same pharmacy, Defendant Wal-Mart automatically            refilled Prescription Nos, 6858388

(l0x$355/refil1), 6867697 (2x$50/refill), 6850546 (2x$168/refrll),                      6856961


(7x$235lrefill)   €|fld,   4429631 (3x$522lrefill). Defendant wal-Mart automatically refilled

these prescriptions        for Minnesota Medicaid patients (in whole or irr part after May 24'

2013), and then Defendant wal-Mart fraudulently billed for these "non-covered"

services, and received payment from Minnesota Medicaid in violatio4 of the law.
 CASE 0:14-cv-03105-DSD-KMM Document 7 Filed 11/26/14 Page 10 of 18




       b.otherexamplesofDefendantWal-Martautomaticall!refillingMinnesota
                                                                            o'non-covered"
Medicaid patients' prescriptions and billing Minnesota Medicaid
                                                                for these


services occurred   at various of   Defendant Wal-Mart's pharmacies' including the

                                                                 Prescription Nos.
following: on or about october 2O,2An at the Faribault pharmacy,

701s604,7054222,8827|74,and7054225;onoraboutNovemberT,201'3attheNew

Ulmpharmacy,PrescriptionNo.663TS62,whichprescriptionccintainedacomputer

profile commeng "Always mail,' and this Minnesota Medicaid patient's entire

prescription profile was set on automatic    refill in Defendant Wal-Mart's      computer

                                                              pharmacy' Prescription
system; and, on or about November 16' 2013 at the Bloomington

                                                                 patient' In          each
No. 8821137 was set on automatic refill for a Minnesota Medicaid
                                                          prescriptions for Minnesota
instance, Defendant waI-Mart automatically refilled these

                                                                services, and received
Medicaid palients, frauclulently billed for tlese "non-covered"

payment from Minnesota Medicaid in violation of the law'

        c.      Examples   of   Defendant Wal-Maft fraudulently billing Managed Care

 Organization('MCO")-managedMedicaidpatientsforautomaticallyrefilled
                                                                      october 20'20|3, aI
 prescriptions include the following, without limitation: on or aboux

                                                          refitrled Prescription No.
 the Faribault pharmacy, Defendant wal-Mart automatically

 880g7ll2andbilledGNT'anMCoforMedicaidpatients,forthese.onon.covered',
                                                               WPI'Mafi autornatically
 services; similarly, on or about November 16, 2013, Defendant

 refilledPrescriptionNos.6960004and6969686andbilledESI'ahMCOforMedicaid

 patients,   for these "non-covered" services' In each instance' Defendant Wal-Mafi

 automaticallyrefilledprescriptionsforMCo-managedMedicaidpatients,fraudulently




                                             l0
 CASE 0:14-cv-03105-DSD-KMM Document 7 Filed 11/26/14 Page 11 of 18



billed lor these oonon-covered" services, and received payment by Medicaid in violation

of the law.

       d.      On or about October 5,2013, while working at Defendant Sam's St. Louis

Park pharmacy, Relator learned that Defendants use the same computer-based pharmacy

staff, programs, policies, systems, practices and procedures. Their staff and systems are

interchangeable   and identical. This includes automatically refilling             Medicaid

prescriptions and billing Medicaid for these "non-covered" prescdptions. On that date,

Relator witnessed the same fraudulent and unlawfirl conduct occurring at Defendant

Sam's. Relator subsequently leamed from other pharmacy employees of Defendant

Sam's that these practices continue to the present date.

        e.     Relator personally witr:essed Defendants engage in the unlav'ftI automatic

refilling of Medicaid patients' prescriptions, and subsequent rnlawful billing to Medicaid

for "non-covered" services, at each ofDefendants' pharmacies where he worked.

Systematic Telephone Solicitation of Medicaid Patients to Refill Prescrintions and
Submission of Claims for Pavment of "Non-Covered' Services

        20, In addition to prohibiting DefendanG from autpmatically refilling
prescriptions of Medicaid Patients, Minnesota regulations likewise prohibit Defendants

from contacting Medicaid recipients "in an effort to initiate a refill unless it is part of a

good faith effort to assess the recipient's medication regimen." Despite being aware      of

this prohibition, Defendants have knowingly solicited refill orders from Medicaid

patients, refilled the prescriptions it solicited, and submitted claims for payment of these

'onon-covered" services to Medicaid, all the while knowing that Minnesota's rules for

payment precluded the submission of such claims.




                                             ll
 CASE 0:14-cv-03105-DSD-KMM Document 7 Filed 11/26/14 Page 12 of 18



        2L      On a daily basis, Defendants directed its pharmacy technicians to solicit a

list of patients by telephone for refills of ttreir prescriptions. These patients included

Minnesota Medicaid patients as well as MCO-Managed patients who were Medicaid

recipients. Relator personally witnessed Defendants engaging in the rmlawfirl solicitation

of Medicaid patients for refills, and subsequent unlawful billing to Medicaid for "non-

covered" services, at each         ol   Defendants' pharmacies where he         worked. The      sole

purpose of these solicitations was 10 increase the volume               of refilled prescriptions for

Medicaid patients;      it   was not part of an effort to o'assess the reoipient's medication

rcgimen."    In fact,    some pharmacies       of   Defendants specifically targeted Medicaid

recipients with solicitations for refills of prescriptions drugs because they were "easy

targets" for refills (usually having a co-pay of$1.00 or less).

        22.     Relator has personal knowledge           of   specific examples       of   Defendatts

soliciting Medicaid Patients to refill prescriptions, refilliag these prescriptions, and

billing Medicaid for these oonon-covered" prescriptions between May 24,2013 and the

present date. These instances include, by way of example only and without limitation,

the following: In 2013, at Defendant Wal-Mart's pharmacy in Lakeville, Minnesot4 an

employee of Defendant Wal-Mart, at the order of Defendant Wal-Mart, systematically

solicited Medicaid patients to refill their prescdptions. One             of the Medicaid     patients

solicited by Defendant Wal-Mart to refill a single prescription, Prescription No. 6606909,

agreed to   refill that prescription and five others. Defendant Wal-Mirt refilled all           these

prescriptions that it initiated through its   unlallfil solicitation.   Then, it billed Medicaid for

tlese o'non-covered" services and received payment knowing that Minnesota's rules

precluded Defendant Wal-Mart from submitting ciaims                 for    paym-ent   of   such "non-




                                                    12
 CASE 0:14-cv-03105-DSD-KMM Document 7 Filed 11/26/14 Page 13 of 18



covercd" services. Defendant Wal-Mart engaged         in the   same conduct    with MCO-

managed Medicaid beneficiaries.

          23. The above-described        fraudulent solicitation, automatic refilling,

dispensing, and billing practices of Defendant Wal-Mart occurred at each and every one

of   Defendants' Minnesota pharmacies at which Relator worked. He also observed

finthand the same practices at Defendant Sam's and that they continue to the present

date. These practices have resulted    in   Defendants selling, dispenNing, and receiving

payment from Medicaid for 'onon-covered" services; namely, prescription medications

that were not specifically requested by Medicaid recipients or their treating providers.

These practices have also resulted   in Defendants failing to provide the   adequate health

care and pharmaceutical services to Medicaid patients in Minnesot4' Upon information

and belief, these unlawful practices of Defendants occurred, and ate still occurring, in

every retail pharmacy of Defendants in Minnesota (approximately 82 in all).

          24.   During his employment with Defendants, Relator reported              to   his

supervisors that he had observed and believed Defendants to be illegally, automatically

refilling prescriptions of Medicaid patients and illegally soliciting Medicaid patients by

telephone to refill their prescriptions. Relator made these reports on dates that included

without limitation, on or about November 2013 and February 11, 2014. Defendants

ignored Relator's reports outlining their illegal practices and related submissions of false

claims.

          25.   The actions of Defendants described above have resrilted in the knowing

submission of false claims to the united states Govemment and the state of Minnesota.




                                              IJ
 CASE 0:14-cv-03105-DSD-KMM Document 7 Filed 11/26/14 Page 14 of 18



          26.     As a direct and proximate resuit of Defendants' false claims to Medicaid,

and other actions taken        in   violation   of the False Claims Acts, the United       States

Govemment and the State of Minnesota have been damaged.

                                          COUNT O}I,E

                               31 U.S.C.8 3729(aXl) and (a)0)

          27.     Relator re-alleges the foregoing paragraphs as though           fully set forth

nerern.

          28.     Defendants, by and through their officers, agents, supervisors, ownets,

directors and employees, knowingly presented or caused to be presented to the United

States Government and the State of Minnesota false claims for payrnent            of services and

medications under Medicaid, in violation of        3   I U.S.C. $ 3729(a)(l).

          29.     Defendants, by and through their officers, agents, supervisors, owners,

directors and employees, knowingly made, used, or caused to be made or used, false

records    or   statements   to get false claims paid or         approved   by the United States

Govemment and the State of Minnesota" for payment of services and medications under

Medicaid, in violation of 31 U.S.C. $ 3729(a)(2).

          30.     Defendants, by and through their officers, agents, supervisors, owners'

directors and employees, authorized the various officers, agents, supervisors, and

employees of Defendants to take the unlautrtl actions set forth above and below.

          31.     Defendants knowingly hid and otherwise failed to disclose to the United

States, the HHS, State   of Minnesota and other Federal and State agencies that Defendants

have been submitting false claims          for payment of services and medications         under

Medicaid.




                                                  t4
 CASE 0:14-cv-03105-DSD-KMM Document 7 Filed 11/26/14 Page 15 of 18



          32.   Defendants falsely represented to the United States Govemment and the

State   of Minnesota that the billings Defendants submitted for palnnent of services and

medications under Medicaid were proper, for 'ocovered services," and valid. This resulted

in the    submission   of false claims for   'hon-covered" services   to the United   States

Govemment and the State       of   Minnesota" and the payment   to Defendants for "non-

covered" services by the United States Govemrnent and the State of Minnesota.

          13.   Defendants' course    of conduct violated the United   States False Claims

Act, 31 U.S.C. $$ 3729 et seq.

          34.   The United States and the State of Minnesota have been damaged as a

result of Defendants' violations of the United States False Claims Act to the extent that

the United States and the State of Minnesot4 unaware of the falsity of the claims and/or

statements   of Defendants, and in reliance on dte accuracy thereof, rnade payments for

which Defendants were not entitled.

                                 COUNTTWO
                 MIINESOTA FALSE CLAIMS ACT VIOLATIONS
                        MIlt{N. STAT. E8 l5C.0l et seq.

          35.   Relator re-alleges the foregoing paragraphs as thoUgh       fully set forth

herein.

          36.   Defendants, by and through their officers, agents, supervisors, owners,

directors and employees, knowingly presented or caused to be presented to the United

States Government and the State of Minnesota false claims for payment       of services and

medications under Medicaid, in violation of Minn. Stat. $$ 15C.01 et beq.

          37.   Defendants, by and through their officen, agents, s[pervisols, owners'

directors and employees, knowingly made, used, or caused to be made or used. false




                                              l5
 CASE 0:14-cv-03105-DSD-KMM Document 7 Filed 11/26/14 Page 16 of 18



records   or   statements   to get false claims paid or    approved   by the United    States


Govemment and the State of Minnesota, for payment of services and medications under

Medicaid, in violation of Minn. Stat. $$ 15C.01 et seq.

         38.     Defendants, by and through their officers, agents, supervisots, ownerc,

directors and employees, authorized the various officers, agents, supervisors, and

employees of Defendants to take the    unlarfi:l actions set forth above and below.

         39.     Defendants knowingly hid and otherwise failed to diqclose to the United

States, the HHS, State   of Mimesota and other Federal and State agenqies that Defendants

have been submitting false claims for payment         of   services and medications under

Medicaid.

          40.     Defendants falsely represented to the United States Government and the

State   of Minnesota that the billings Defendants submitted for payment of services and

medications under Medicaid were proper, for 'ocovered services," and valid. This resulted

in the submission of false claims for "non-covered"         services   to the United   States


Govemment and the State         of Minnesota, and the payment to Defendants for "non-

covered" services by rhe United States Govemment and the State of Minnesota.

         4L       Defendants' cowse of conduct violated the Minnesota False Claims Act,

Minn. Stat. $$ 15C.01 et seq.

         42.      The United States and the State of Minnesota have been damaged as a

result of Defendants' violations of the Minnesota False Claims Act to the extent that the

united states and the state of Mbnesot4 unaware of the falsity of tlle claims and/or

statements     of Defendants, and in reliance on tlle accuracy thereof, made payments for

which Defendants were not entitled.




                                              l6
 CASE 0:14-cv-03105-DSD-KMM Document 7 Filed 11/26/14 Page 17 of 18



                               PRAYERFORRELIEF

   WHEREF ORE, Relator, on behalf of himself and the United States Govemment and

the State of Minnesot4 respecffully prays:

         A.   That this Court enter judgment against the above-named Defendants in an

amount equal to three times the amount of damages the United Stales Govemment and

the State of Minnesota have sustained because of Defendants' actions;

         B.    That this Court impose on Defendants a civil penalty of$5,500 to $11'000

for each action in violation of 31 U.S.C. $$ 3729 et seq. and Minn, Stat. $$ 15C.01 et

seq';




interest, incurred by both the Relator, the United States Govemmeht, and the State       of

Minnesota;

         D.    That the Relator be awarded all costs incrnred' including reasonable

attomeys' fees;

         E.    That, in the event the United States Govemment and/or the State of

Minnesota continue to proceed with this action, the Relator be awarded an amount for

bringing this action ofat least 15% but not moro than   25%o   of the proceeds of the action

or settlement of the claim;

         F.    That, in the event the United States Govemment and/or the State of

Minnesota does not proceed with this action, the Relator be awarded an amount that the

court decides is reasonable for collecting the civil penalty and dampges, which shall be

not less than 25%o nor more than 30% of the proceeds of the action or settlement of the

claim;




                                             t't
 CASE 0:14-cv-03105-DSD-KMM Document 7 Filed 11/26/14 Page 18 of 18



        G.     That the United States Govemment, the State of Minnesota and the

Relator be awarded prejudgnent interest; and

        H.     That the United States Govemment, the State          of   Minnesota ahd the

Relator receive all relief, both in law and in equity, to which they may reasonably appear

entitled.

                                    JURYDEMAND

    Relator, on behalf   of himself, the United      States Govemment and the State     of

Minnesot4 hereby demands a trial by jury of all issues triable of right by a jury.




Date: November 25.24]4                         JOIIN A. KLASSEN. PA



                                                John A. Klassen (No.24434X)
                                               700 Lumber Exchange Building
                                               l0 South Fifth Street
                                               Minneapolis, MN 55402
                                                (612)204-4s33
                                               john@aklaw.com

                                                  MULLER& MULLE&PLLC
                                                  Andrew P. Muller (No. 324678
                                                  3109 West 506 Street. No. 362
                                                  Minneapolis, MN 554 1 0-21 02
                                                  (612) 604-s34r
                                                  apmuller@themullerlawf irm. com

                                                  ATTOR}TEYS FOR PLAINTIFF AI\D
                                                  RELATOR RYAII MESAROS




                                             l8
